                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )
                                                )            8:05CR162
                    Plaintiff,                  )
                                                )
       vs.                                      )             ORDER
                                                )
RUBEN LOPEZ CAZARES,                            )
                                                )
                    Defendant.                  )




       This matter is before the court on the motion of Steven E. Achelpohl to withdraw as
retained counsel for the defendant, Ruben Lopez Cazares (Cazares) (Filing No. 22).
Since retained counsel, Douglas J. Stratton and Andrew W. Weeks, have entered an
appearance for Cazares (Filing No. 24), Mr. Achelpohl’s motion to withdraw (Filing No. 22)
is granted.   Mr. Achelpohl shall forthwith provide Messrs. Stratton and Weeks with the
discovery materials provided the defendant by the government and such other materials
obtained by Mr. Achelpohl which are material to Cazares’ defense.
       The hearing on the motion to withdraw (Filing No. 22) scheduled for August 15,
2005 at 10:00 a.m. is canceled.


       IT IS SO ORDERED.


       DATED this 12th day of August, 2005.


                                                BY THE COURT:
                                                s/ Thomas D. Thalken
                                                United States Magistrate Judge
